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 5
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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-0010 MCE
12                                Plaintiff,
                                                        STIPULATION AND PROTECTIVE
13                v.                                    ORDER BETWEEN THE UNITED
                                                        STATES AND DENNA RICE AND
14   DENNA CHAMBERS,                                    STARSHEKA MIXON
      aka DENNA RICE AND
15   STARSHEKA MIXON
16                                Defendants.
17

18                                              STIPULATION

19          WHEREAS, the discovery in this case contains a large amount of tax returns and taxpayer

20 return and personal identifiable information (PII) including but not limited to Social Security

21 numbers, dates of birth, bank account numbers, telephone numbers and residential addresses

22 (“Protected Information”); and

23          WHEREAS, redaction of Protected Information is not possible because the Protected

24 Information is relevant to the case; and

25          WHEREAS, disclosure of confidential tax return and taxpayer return information is governed

26 by Title 26 United States Code, Section 6103(a), which mandates that return and return information

27 will be confidential except as authorized by Section 6103, which permits disclosure to the defense of

28 such tax return and taxpayer return information in accord with Rule 16 of the Federal Rules of
                                                     1
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 1 Criminal Procedure, 26 U.S.C. § 6103(h)(4)(D), but restricts further disclosure of this tax return and

 2 tax return information by defendants or their attorneys; and

 3          WHEREAS the parties want to avoid the unauthorized disclosure or dissemination of this

 4 information to anyone not a party to the court proceedings in this matter, Plaintiff United States of

 5 America, by and through its counsel of record, and defendants DENNA RICE and STARSHEKA

 6 MIXON, by and through their counsels of record, hereby stipulate as follows:

 7          1. This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 8 Criminal Procedure and its general supervisory authority.

 9          2. This Stipulation and Order pertains to all discovery provided to or made available to

10 Defense Counsel as part of discovery in this case (hereafter, collectively known as “the Discovery”).

11          3. Defense counsel shall not disclose any of the Discovery to any person other than his or

12 her attorneys, law clerks, paralegals, secretaries, experts, and investigators involved in the

13 representation of his or her respective defendant in connection to this criminal case. Defense

14 Counsel may permit the defendant or witnesses that he/she is interviewing or preparing for trial to

15 view unredacted documents in the presence of defense counsel, defense investigators and support

16 staff. The parties agree that Defense Counsel, defense investigators and support staff shall not allow

17 the defendant or any witness to copy or otherwise retain Protected Information, including tax returns

18 and taxpayer return information, contained in the Discovery.

19          4. The Discovery and information therein may only be used in connection with the litigation

20 of this case and for no other purpose. The Discovery is now and will forever remain the property of

21 the United States Government. Thirty days after any judgment is entered in this case, defense

22 counsel will return to the Government the Discovery or will certify that the Discovery has been

23 destroyed. In the event that a 2255 motion is filed following conviction that is not dismissed, the

24 Government will return the Discovery to defense counsel for review.

25          5. In the event that the defendant obtains substitute counsel, undersigned defense counsel

26 agrees to return all Discovery provided under this order to Government counsel, or certify that all

27 Discovery has been destroyed, in order that the Government may arrange for substituted counsel to

28 sign the order and for the reissuance of the Discovery to new counsel.
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 1          6. Defense counsel will store the Discovery in a secure place and will use reasonable care to

 2 ensure that it is not disclosed to third persons in violation of this agreement.

 3          7. If defense counsel makes, or causes to be made, any further copies of any of the

 4 Discovery, defense counsel will inscribe the following notation on each copy or incorporate onto

 5 electronic files (efiles): “U.S. Government Property; May Not Be Disseminated Without U.S.

 6 Government Permission.”

 7          8. If defense counsel releases custody of any of the Discovery, or authorized copies thereof,

 8 to any person described in paragraph three, defense counsel shall provide such recipients with copies

 9 of this Order and advise that person that the Discovery is the property of the United States

10 Government, that the Discovery and information therein may only be used in connection with the

11 litigation of this case and for no other purpose, and that an unauthorized use of the Discovery may

12 constitute a violation of law and/or contempt of court. Defense counsel must specifically advise that

13 any Discovery disclosed under paragraph three may not be further reproduced or distributed and

14 must be treated in the same manner as the original material.

15          9. Defense counsel shall maintain a list of any and all persons to whom the Discovery is

16 disclosed and shall advise such persons that their viewing of the Discovery will be so memorialized.

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 1         10. Defense counsel shall be responsible for advising his or her respective defendant,

 2 employees and other members of the defense team, and defense witnesses of the contents of this

 3 Stipulation/Order.

 4         IT IS SO STIPULATED.

 5
     DATED:       January 25. 2016
 6
                                         /s/ Shelley D. Weger
 7                                       SHELLEY D. WEGER
                                         Assistant United States Attorney
 8
     DATED:       January 25, 2016
 9
                                         /s/ Matthew Bockman
10                                       MATTHEW BOCKMAN
                                         Counsel for Defendant DENNA RICE
11

12
     DATED:       January 25, 2016
13

14                                       /s/ Candace A. Fry
                                         CANDACE A. FRY
15                                       Counsel for Defendant STARSHEKA MIXON
16

17

18                                              ORDER
19
           IT IS SO FOUND AND ORDERED this 26th day of January, 2016.
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